                                           UNITED STATES BANKRUPTCY COURT
                 Case 14-34885           Doc 2 Filed 12/11/14 Entered 12/11/14 16:05:34                                   Desc Main
                                                DISTRICT OF MINNESOTA
                                                     Document       Page 1 of 3
 In re:                                                                               Chapter 13 Plan
           Gibson, Gaynor
                                                                                      Dated      December 11, 2014

                                                                                      Case No.____________
                                    DEBTOR(S)
                                    In a joint case,debtor
                                    means debtors in this plan


 1. DEBTOR'S PAYMENTS TO TRUSTEE-
      a. As of the date of the plan, the debtor has paid the Trustee $_____________.
      b. After the date of this plan, the debtor will pay the trustee $ 735/885 per month for 30/30 months, beginning within 30 days after the
         order for relief for a total of $ 48600.
         Minimum plan length is 36 months from the date of the initial plan payment unless all allowed claims are paid in less time.
           c. The debtor will also pay the trustee__________________________________________________.
           d. The debtor will pay the trustee a total of $ 48600.
 2. PAYMENTS BY TRUSTEE - The trustee will pay from available funds only creditors for which proofs of claim have been filed.
    The trustee may collect a fee of up to 10% of plan payments, or $ 4860.00.
3. ADEQUATE PROTECTION PAYMENTS - The trustee will promptly pay from available funds adequate protection payments to creditors
   holding allowed claims secured by personal property according to the following schedule, beginning in month one (1).
            Creditor                       Monthly payment          Number of months         Total Payments
 a.                                                  0.00                      0                          0.00
 b.                                                  0.00                      0                          0.00
 c.                                                  0.00                      0                          0.00
 d.                                                  0.00                      0      0.00
                                                                                     Total $      0.00
 4. EXECUTORY CONRACTS & UNEXPIRED LEASES [§365]-The debtor assumes the following executory contracts or unexpired
    leases. Cure provisions, if any, are set forth in ¶ 7.
          Creditor                                         Description of Claim
 a.
 b.
 5. CLAIMS NOT IN DEFAULT - Payments on the following claims are current, & the debtor will pay the payments
    that come due after the date the petition was filed directly to the creditors. The creditors will retain liens, if any.
            Creditor                                             Description of Claim
    a.
      b.
      c.
      d.

 6. HOME MORTGAGES IN DEFAULT [§1322(b)(5) & §1322(e)] - The trustee will cure defaults on the following claims secured only
    by a security interest in real property that is the debtor's principal residence. The debtor will pay the payments that
    come due after the date the petition was filed directly to the creditors. The creditors will retain their liens.
    All following entries are estimates.      The trustee will pay the actual amounts of default.
               CREDITOR                           AMOUNT OF            MONTHLY                BEGINNING            NUMBER OF TOTAL
                                                   DEFAULT             PAYMENT                IN MONTH #           PAYMENTS  PAYMENTS

      a. NationStar Mortgage                     $   7142.00       $ 422                       5                     17        $      7142.00
      b.                                         $                 $                                                           $
      c.                                         $                 $                                                           $
            TOTAL                                                                                                              $      7142.00

 7. CLAIMS IN DEFAULT [§1322(B)(3) & 5 & §1322(E)] - The trustee will cure defaults on the following claims as set forth below.
    The debtor will pay the payments that come due after the date the petition was filed directly to the creditors. The
    The creditors will retain liens, if any.  All following entries are estimates except for interest rate.
           Creditor                          Amount of      Int Rate           Monthly           Beginning in     Number of Total
                                              Default       (if applicable)    Payment           Month #          Payments Payments
      a.                                     $                             $                                                   $
      b.                                     $                             $                                                   $
      c.                                     $                             $                                                   $

             TOTAL                                                                                                             $
  8. OTHER SECURED CaseCLAIMS;
                          14-34885
                                SECUREDDoc   CLAIM 2 AMOUNT
                                                        FiledIN12/11/14
                                                                 PLAN CONTROLS Entered     12/11/14
                                                                                   [s.1325(a)(5)]         16:05:34
                                                                                                  - The trustee             Desc
                                                                                                                 will pay the       Main
                                                                                                                              following
                                                            Document
      allowed secured claims the amount set forth in the "Total               Pagebelow.
                                                                 Payments" column,     2 of Creditors
                                                                                             3          will retain liens securing
  the allowed secured claims until the earlier of the payment of the underlying debt determined under nonbankruptcy law, or the date
  of the debtor's discharge. NOTWITHSTANDING A CREDITOR'S PROOF OF CLAIM FILED BEFORE OR AFTER CONFIRMATION, THE AMOUNT
    LISTED IN THIS PARAGRAPH AS A CREDITOR'S SECURED CLAIM BINDS THE CREDITOR PURSUANT TO 11 U.S.C. S. 1327, AND CONFIRMATION
    OF THE PLAN IS A DETERMINATION OF THE CREDITOR'S ALLOWED SECURED CLAIM.                                                   (Adequate
                                                                                                              Payments
          Creditor                             Claim         Secured    % Int Begin    (Monthly (No.
                                                                                                  X       =   on account + protection    TOTAL
                                               Amount        Claim      Rate Month # Payment) pmts)
                                                                                                              of claim        from P. 3)
  a. Internal Revenue Service                     26277.00     7486.00           3   5      239.00    33        7887.00                       7887.00
  b.
  c.
  d.
  e.
   f.
  g. TOTAL                                                                                                                                    7887.00

9. PRIORITY CLAIMS - The trustee shall pay in full all claims entitled to priority under sec. 507, including the following. The
   amounts listed are estimates only. The trustee will pay the amounts actually allowed.
        Creditor                      Estimated               Monthly              Beginning in          Number of         TOTAL
                                      Claim                   Payment              Month #               Payments          PAYMENTS
a. Attorney Fees                     $ 2240.00               $          661         1                    4                 $                2240.00
 b. Domestic Support                     $                       $                                                           $
 c. Internal Revenue Service             $          19791.00     $    Pro rata                                               $             19791.00
 d. Minn. Dept. of Revenue               $           4155.00     $    Pro rata                                               $              4155.00
 e. Postpetition IRS                     $           2500.00     $    Pro rata                                               $              2500.00

 f. TOTAL                                                                                                                    $             28686.00

10. SEPARATE CLASS OF UNSECURED CREDITORS-In addition to the class of unsecured creditors specified in paragraph 11, there shall be
    a separate class of nonpriority unsecured creditors described as follows:



        The trustee will pay the allowed claims of the following creditors.      All entries below are estimates.
             Creditor                              Claim      Secured    % Int Begin
                                                   Amount     Claim      Rate Month #
          a.
          b.

11. TIMELY FILED UNSECURED CREDITORS-The trustee will pay holders of nonpriority unsecured claims for which proofs of claim
    were timely filed the balance of all payments received by the trustee and not paid under paragraphs 2, 3, 5, 6, 7 and 8
    their pro rata share of approximately            $    25.00     [line1(d) minus lines 2, 3(c), 5(d) and 8(b)].
     a. The debtor estimates that the total unsecured claims held by creditors listed in paragraph 8 are                $ 18,791
        b. The debtor estimates that the total unsecured claims (excluding those in paragraphs 8 & 10 are                 $ 97,095
        c. Total estimated unsecured claims are        $ 115,886     [line 9(a) plus line 9(b)].
12. TARDILY-FILED UNSECURED CREDITORS-All money paid by the debtor to the trustee under paragraph 1, but not distributed by the
    trustee under paragraphs 2, 3, 4, 6, 7, 8 ,9, 10, or 11 shall be paid to holders of nonpriority unsecured claims
    for which proofs of claim were tardily filed.
13. OTHER PROVISIONS - To the extent that Child Support is an unsecured claim for AFDC reimbursement, it shall be designated
    a separate class and paid in full. Please note: Child Support collections is authorized to continue automatic wage
    withholding for ongoing, post-petition child support. Child Support Collections may obtain, modify & enforce the debtor's
    current ongoing child support obligation, including medical support & child care, including wage withholding.
     -If a foreclosure occurs on debtor's real estate during the term of the Chapter 13 Plan, the debtor(s) shall cease making
    mortgage payments pursuant to Paragraph 5 and/or 6 of the Plan, and any remaining deficiencies on all mortgages
    secured by the property foreclosed shall be treated and discharged as general unsecured claims under the Plan.
    Claims filed as secured but for which the plan makes no express provixion shall be paid as unsecured set forth in Paragraph 11
    - The debtor(s) shall be entitled to the first $1200 for an individual chapter 13 debtor and $2,000 for married chapter 13 debtors
    of each year's tax refunds.
     The balance shall be paid to the trustee as an additional plan payment. Any Earned Income Credit and Minnesota Working
     Family Credits shall be retained by the debtor(s). The debtors shall keep these credits in addition to the $1200, or $2,000.
     - Pursuant to 11 USC § 1305(a)(1), claims for postpetition income taxes for the year in which the case was filed are to be included
      in the plan.
    -If the plan provides for payment of an obligation by a 3rd party or co-debtor, and a default occurs, any resulting claim shall be
    treated and discharged as a general unsecured claim.
    -Secured creditors are authorized to and shall continue to send the debtor(s) billing statements unless the Plan provides for
    the surrender of their collateral.
13. OTHER PROVISIONS - (continued)
                  Case
   - The trustee may       14-34885
                     distribute              Docnot2 expressly
                                additional sums         Filedprovided
                                                                12/11/14        Entered
                                                                        at the trustee's    12/11/14 16:05:34 Desc Main
                                                                                         discretion.
   - This plan does not release creditors from their ongoingDocument
                                                             duty to correct andPage
                                                                                  update3information
                                                                                           of 3      with consumer reporting agencies
   as required by Section 623 of the Fair Credit Reporting Act. Secured creditors shall continue to report all payments receiv
   - on account of secured claims to consumer reporting agencies.




   The plan payment steps up when the non-filing spouse's vehicle loan with American Credit Acceptance is paid in full.

   14. CLAIMS held by BANK OF AMERICA, and WINDOM PONDS PATIO HOMES ASSOCIATION, INC.; UNDER 11 USC SECTION 506
   The debtor's residential property located at 6886 Newbury Knoll, Woodbury, MN 55125, and legally described as LOT 12, BLOCK 3,
   WYNDHAM PONDS 2ND ADDITION, CIC NO. 199, WASHINGTON COUNTY, MINNESOTA, is encumbered by a first mortgage held by
   Nationstar Mortgage, LLC; a second mortgage held by Bank of American ("first junior lienholder"); and a lien held by WIndom Ponds
   Pation Homes Association, Inc., ( "second junior lienholder"). The debtor shall file a motion pursuant to 11 U.S.C. sec.506 and Local Rule
   3012-1 for determination that the first and second junior lienholder' 'claims in this case are unsecured in their entirety. If the motion is
   granted, the chapter 13 trustee shall treat any timely claim filed by the first junior lienholder and second junior lienholder as unsecured
   claims.




14. SUMMARY OF PAYMENTS - ESTIMATED
         Trustee's fee [Line2]                                                         $       4,860.00
         Home Mortgage Defaults [Line 6(d)]                                            $       7,142.00
          Claims in Default [Line 7(d)]
          Other Secured Claims [Line 8(g)]                                             $       7,887.00
          Priority Claims [Line 9(f)]                                                  $ 28,686.00
          Separate Class [Line 10(c)]
          Unsecured Creditors [Line 11]                                                    $      25.00
          TOTAL [Must equal Line 1(d)                                                  $ 48,600.00




                                                                 Signed:   /S/ Gaynor Gibson
   Walker & Walker Law Offices, PLLC.
   Curtis K. Walker, #0113906                                              Debtor
   Mary C. Hoben, #0335411
   Andrew C. Walker #0392525
   Michael A. Stephani, #0390262                                 Signed:   /S/
   4356 Nicollet Avenue South                                                 Joint Debtor
   Minneapolis, MN 55409
   (612) 824-4357
